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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA



 __________________________________
                                            )
                                            )
      Rodney Lail, et al.,                  )
                                            )
            Plaintiffs,                     )
                                            )     C.A. No. 10-CV-210-PLF
                   v.                       )
                                            )
      United States Government, et al.,     )
                                            )
                                            )
            Defendants.                     )
                                            )                  EXHIBIT “A”
                                            )
                                            )


                        AFFIDAVIT OF JAMES SPENCER

      I, James Spencer, hereby declare under penalty of perjury the following
based on my personal knowledge:

      1. I am over the age of eighteen years and I am competent to testify

      2. On June 6, 2000, I was intentionally, criminally and without basis entered

         into the FBI-NCIC system as a fleeing felon with an accompanying be on

         the lookout (“BOLO”) advisory falsely characterizing me as “armed and

         extremely dangerous.”




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3. From June 6, 2000, to date I, Pro Se Plaintiff [James Spencer FKA

   Robert Holt], have been a victim of civil rights crimes, “under color of

   law” both with and without brutality, crimes that I have reported as

   complaints to personnel with the Federal Bureau of Investigation (“FBI”)

   from February 21, 2001 to January 7, 2010

4. My mother, 93 year old Doris Holt, was also a victim of civil rights

   crimes, “under color of law” both with and without brutality, beginning

   from, June 7, 2000, crimes which have continued to the date of the filing

   of this motion.

5. Doris Holt reported these civil rights crimes, “under color of law” both

   with and without brutality beginning at the February 21, 2001, meeting in

   the lobby to FBI SA Marsh in Columbia, South Carolina and either by

   her or on her behalf up to and including January 7, 2010, to the FBI.

6. Attachment “I” to this Exhibit “A”, contains evidentiary documents

   confirming events relevant to this Plaintiffs’ Motion, Document No. 69.

7. On February 21, 2001, my mother, Plaintiff Doris Holt, and I traveled to

   the FBI offices in Columbia, SC for a scheduled meeting with FBI SA

   Thomas Marsh to file a complaint concerning our being victims of civil

   rights crimes, under color of law both with and without brutality.




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8. When Doris Holt and I arrived, unexpectedly Defendant FBI SA Thomas

   Marsh refused to meet with my mother and said he [Marsh] would

   conduct her interview with her alone at some other point in time.

9. Doris Holt had no choice but to remain in the lobby of the FBI offices in

   Columbia, SC.

10. FBI SA Thomas Marsh never met with Doris Holt nor did any other FBI

   agent interview my mother as promised by FBI SA Thomas Marsh.

11. During the meeting on February 21, 2001, FBI SA Thomas Marsh

   reviewed the police videotapes that documented the illicit editing by the

   police. Also unknown to FBI SA Marsh prior to his unprompted

   observation, as depicted in point 12 herein immediately below, the police

   videotape captured a citizen disguised as a police officer at the scene of

   the civil rights crimes, under color of law, with brutality on August 6,

   2000.

12. Defendant Marsh commented on the disguised individual when he

   spotted him and watched him for a couple of minutes when he first

   appeared on the police videotape. Marsh stated that, “this individual is

   clearly not a police officer and he [the disguised individual] should

   picked up and questioned for being involved in this.”




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13. On February 21, 2001, during the meeting referred to in points 7 – 12

   herein, FBI SA Thomas Marsh ran an NCIC report to see if I [James

   Spencer FKA Robert Holt] was listed on the NCIC system.

14. On February 21, 2001, I provided FBI SA Thomas Marsh certified

   documentation that evidenced the fact there had been no outstanding

   warrants for me of any nature issued in Guilford County when I was (1)

   wrongfully inputted into the NCIC system on June 6, 2000, (2) on August

   6, 2000 [when Officer Lail and me were stopped at gunpoint and when

   civil rights crimes under color of law with brutality occurred], and (3) on

   February 21, 2001, the date of the meeting with FBI SA Marsh.

15. On February 21, 2001, I provided a list of names addresses and

   telephone numbers of other victims and witnesses of/to civil rights crimes

   “under color of law” with and without brutality in these matters to

   Defendant, FBI SA Thomas Marsh.

16. The list of victims included, but was not limited to: Doris Holt, Irene

   Santacroce, minor child - Samantha Cooper, Nick Williamson, Rodney

   Lail, Ricky Stephens, Marguerite Stephens, Tammy Lail, minor child -

   Keith Lail, minor child – Brittany Lail, James Hammond, Southern

   Holdings and its shareholders (complete list provided), Dan Moore, John

   Santacroce and Dan Green.


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17. Not one victim I listed and no witness I named was ever contacted by

  FBI SA Marsh in any manner, including Doris Holt, and I never heard

  again, directly or indirectly, from FBI SA Thomas Marsh or any other

  individual from the FBI as a result of the meeting and complaint I filed

  on February 21, 2001.

18. Based on sworn testimony given in my presence during the summer of

  2004 by the perpetrators identified by me during my meeting with FBI

  SA Marsh on February 21, 2001, no perpetrator was ever interviewed or

  contacted in any manner by the FBI.

19. On October 24, 2001, I was informed by FBI SSA Gary Bray that FBI

  SA Thomas Marsh had retired and moved to Florida, and that Marsh had

  taken all his personal case notes with him he took at the meeting held on

  February 21, 2001. (See Attachment “I”, Page 1.)

20. I was also informed on October 24, 2001, by FBI SSA Gary Bray that

  there was a file kept on the complaint I filed on February 21, 2001, “your

  file” at the Columbia, FBI Office.

21. However, based on the FOIA responses I received all records of the

  meeting on February 21, 2001, disappeared from FBI records and all

  evidence I provided also disappeared from the FBI.




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22. In repeated FOIA requests I was told by the FBIHQ there were no

   documents of the meeting of February 21, 2001 ever having occurred.

   (See Attachment “I”, Pg. 40, a letter from FBIHQ dated February

   16, 2006.)

23. Even the confirming NCIC inquiry made by Defendant FBI SA Thomas

   Marsh on February 21, 2001, was purged from the certified

   documentation of the NCIC system provided by FBIHQ to United States

   Senator Lindsey Graham’s office. (See Exhibit “H”, Document No. 69-

   4, Pg. 119).

24. M. McIntyre Sundin of the General Counsel’s Office of the FBI refused

   to provide relevant NCIC information under Federal Subpoena, stating

   that the certified documents provided to United States Senator Graham

   were accurate and certified [for use in Federal Court]. See Exhibit “H”,

   Document No. 69-4, Pgs. 151 – 164.)

25. Documents later obtained from the South Carolina Law Enforcement

   Division (“SLED”) verified there was in fact a meeting on February 21,

   2001, with FBI SA Thomas Marsh, at the FBI offices in Columbia, SC,

   irrespective of the missing records from the FBIHQ files and the

   wrongfully “doctored” certified CJIS report. (See Attachment “I”, Pgs.

   52 – 55.)


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26. Additionally, the validating February 21, 2001, NCIC inquiry is

   documented in an earlier report obtained through United State Senator

   Strom Thurmond’s Office prior to the commencement of any Court

   action, see point 23 herein. (See Exhibit “H”, Document 69-4, Pg. 82.)

27. The documents obtained from SLED revealed the evidence provided to

   the FBI on February 21, 2001, was wrongfully immediately turned over

   to SLED on or about February 21, 2001, by the FBI and against FBI

   required policy the FBI wrongfully closed the case without out any

   required investigation being made. SLED took the evidence and on

   February 27, 2001, and closed the SLED case file without any

   investigation being done and stored away the evidence. (See Attachment

   “I”, Pgs. 52 - 55.)

28. I was never informed of any such actions by the FBI documented in the

   SLED papers (Attachment “I”, Pgs. 52 - 55) and instead was

   wrongfully misinformed by FBIHQ about the existence of an ongoing

   civil rights investigation numerous times.      I was even wrongfully

   misinformed by FBIHQ that there was an ongoing criminal investigation

   for possible prosecution in these matters on February 28, 2006, six

   months after the Statute of Limitations had run out on the reported civil




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   rights crimes that occurred during the summer of 2000, which is clearly

   not legally possible. (See Attachment “I”, Page 41.)

29. My mother, Pro Se Plaintiff Doris Holt, and I sent F.O.I.A. requests to

   FBIHQ in Washington, DC, on the same date October 27, 2005 written

   with the same wording. However, the responses were inconsistent. Doris

   Holt’s FOIA response indicated there was an ongoing investigation and

   the response to my FOIA request said there were no records on file.

   Since we both filed also filed civil rights complaints under color of law at

   the same time in the same manner, with the same background, the

   responses being both simultaneously accurate is legitimately implausible

   if not problematic. (See Attachment “I”, Pgs. 18 - 23.)

30. On June 18, 2004, I met in Washington, DC, with James Galyon,

   Majority Counsel for the Senate Committee on the Judiciary.

31. During the meeting on June 18, 2004, James Galyon unexpectedly

   contacted the FBI Headquarters in Washington, DC, in an apparently

   prearranged call with an individual with Justice Department’s Civil

   Rights Division. Mr. Galyon used the speakerphone so we could all

   participate in the discussion [Marguerite Stephens, Ricky Stephens,

   Tammy Lail, Nicholas Williamson, PhD, Rodney Lail and myself]. Mr.

   Galyon reported the civil rights complaints (including Doris Holt’s


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   complaint) under color of law with brutality and without brutality,

   complaints that were never investigated by the FBI.

32. Mr. Galyon, soon after the meeting on June 18, 2004, notified the

   meeting attendees that an investigator was being assigned to the

   geographical area to investigate the civil rights crimes under color of law

   and other associated public corruption we reported. We were notified

   that the name of the investigator was FBI SA Paul Gardner.

33. On June 18, 2004, the group of individual victims and I also met in

   Washington DC, with House Judiciary Committee member Howard

   Coble, his Chief of Staff and an FBI SA liaison with the House Judiciary

   Committee and we expressed the same concerns as we did with James

   Galyon earlier in the day.

34. I mentioned that we had spoken to James Galyon earlier in the day about

   the same concerns and that Mr. Galyon had contacted the Justice

   Departments Civil Rights Division, in Washington, DC.

35. The FBI SA agent present at the Congressman Coble meeting wrote

   down our names and contact information including Doris Holt’s name

   and our civil rights complaints. The agent said he would personally

   follow up with the individuals at the Justice Department previously




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   contacted by Senator Graham’s Office to make sure that our complaints

   was handled properly.

36. On July 13, 2004, my mother, Doris Holt, and I met with FBI SA

   Andrew Hildreth and filed a civil rights complaint under color of law

   with and without brutality at a meeting with Assistant United States

   Attorney Marshal Prince from the local US Attorney’s Office in

   Columbia, SC and the US Attorney’s Office in Columbia, SC. (See

   Attachment “I”, Pg. 3.)

37. During October, 2004, my mother, Doris Holt, and I along with

   Plaintiffs Bruce Benson, Nick Williamson and Rodney Lail, met with

   FBI SA Paul Gardner and filed a civil rights complaint under color of law

   with and without brutality at a meeting at my mothers and my apartment

   in Columbia, SC.

38. During the October, 2004, meeting, FBI SA Paul Gardner refused to

   take a copy of evidentiary documents belatedly produced under Federal

   Court Order. The documents included part of a handwritten journal by a

   self confessed and convicted felon Herold Hartness, a journal which

   documented bribes of $1,500 each for three local law enforcement

   officers involved in the civil rights crimes we reported along with felon

   Herold Hartness.


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39. During that same October, 2004 meeting FBI SA Paul Gardner told us

   [Rodney Lail, Nick Williamson, Bruce Benson, Doris Holt and myself]

   the reason he did not want to take the documentation on the bribes

   because he was operating alone and was reporting directly to Washington

   FBIHQ as part of an undercover task force on this case and he did not

   want to take evidence until he knew whom he could trust in the local FBI

   office.

40. During November 2004, I met a second time with FBI SA Gardner and

   Rodney Lail at the Columbia, SC office of the FBI to discuss various

   aspects of our civil rights complaints.

41. During December 2004, I had a third meeting with SA Gardner and Lail

   in Florence, SC, during which I showed Defendant SA Gardner an

   evidence-based video documentary on public corruption and civil rights

   violations under color of law with and without brutality in this case.

42. On or about December 13, 2004, my timeline of events of civil rights

   crimes under color of law that FBI SA Gardner requested each of the

   victims to construct including Doris Holt was filed with SA Paul

   Gardner. Defendant Paul Gardner personally confirmed he received both

   our timelines over the telephone to me on December 13, 2004.




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43. On or about early January 2005, FBI SA Gardner met with me in

   Columbia, SC, to secure copies of the DVD video evidence-based

   documentary of the case Gardner had been asking for since he saw the

   documentary in Florence during the meeting with Mr. Lail and myself

   which occurred in December, 2004.

44. I asked FBI SA Gardner at each and every meeting I had with him for a

   business card. At each meeting FBI SA Gardner told me and others who

   asked that he did not have any business cards with him. (See herein ¶¶

   37, 40, 41 & 43.)

45. During the same meeting which I provided SA Gardner the evidence-

   based documentary, Defendant Gardner gave me a document that

   Gardner characterized as the only document in the FBI file in Columbia

   SC and in FBIHQ in Washington DC, regarding the February 21, 2001,

   meeting I had with FBI SA Thomas Marsh. (See Attachment “I”, Pg. 8.)

46. The document referenced in paragraph number 44 herein immediately

   above identified that I tried to file a civil rights complaint on February

   21, 2001, but according to the document Gardner provided dated October

   1, 2001, my civil rights complaint was not captioned as such by the FBI.

   The document Gardner provided was a complete distortion of events.

   This is verified as such a distortion by the SLED documents concerning


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   the February 21, 2001 meeting with FBI SA Thomas Marsh. (See

   Attachment “I”, Pg. 52 - 55.)

47. On July 22, 2005, I received a telephone call from FBI SA Phil Gardner.

48. During the telephone call on July 22, 2005, SA Gardner informed me

   that a special standing committee had decided not to investigate the civil

   rights violations despite his recommendation to do so. SA Gardner

   further informed me that the Statute of Limitations was due to run out on

   August 6, 2005 and the FBI had already reached their quota of civil rights

   cases for that year which is why the standing committee at FBIHQ had

   turned down his [FBI SA Paul Gardner’s] alleged request to investigate.

   (See Attachment “I”, Pgs. 26, 27, 31, 42, 45, 46, 48, 49, 50 & 51.)

49. I never heard from FBI SA Paul Gardner again and not one of the

   evidentiary materials Doris Holt and I provided FBI SA Paul Gardner

   were returned despite Doris Holt and my repeated requests.

50. I filed FOIA’a and another civil rights complaint under color of a law,

   with brutality after my mother was kidnapped by the SC State Authorities

   but never received any action requesting procedural manuals or help in

   the civil rights violations regarding the abuse in the disappearance of my

   mother. (As examples See Attachment “I” Pgs. 69, 70 & 71.)




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